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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 TIMOTHY KING, et al.,


                          Plaintiffs,        Case No: 2: 20-cv-13134
 -v-                                         Honorable Linda V. Parker


 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of Michigan,
 et al.
                          Defendants,
 and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY, and ROBERT DAVIS,
                    Intervenor-Defendants.



             ATTORNEY L. LIN WOOD’S BRIEF IN RESPONSE
                    TO ORDER TO SHOW CAUSE

                                  Proof of Service



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                               ISSUES PRESENTED

       Intervenor-Defendant, Robert Davis, moved this Honorable Court to issue an

 order directing Attorney L. Lin Wood to show cause as to why he should not be held

 in criminal contempt for allegedly “broadcasting” a “video snippet” of a hearing held

 before the Court on July 12, 2021. (ECF No. 151, PageID 5271). The movant

 requested the Court to order Mr. Wood to show cause why he should not be held in

 criminal contempt pursuant to Local Rule 83.32(g)(1), (3). The Court denied the

 motion. (ECF No. 156, PageID 5302). The Court did, however, order Mr. Wood to

 show cause “why he should not be disciplined in accordance with Local Rule

 83.22(d)….” Id. The first issue is whether this Court has the authority to discipline

 an attorney who is not a member of the bar of the Eastern District of Michigan and

 who has not practiced before this court. The Court does not, and Mr. Wood should

 not be disciplined.

       Mr. Wood is not, nor has he ever been, a member of the bar of the Eastern

 District of Michigan. See, L.R. 83.20(d) “Procedure for Admission.” Nor has he

 ever practiced before any judicial officer of the Eastern District of Michigan. See

 L.R. 83.20(a) (“Practice in this court” defined.) The only instance of his appearing

 in this district occurred at the July 12, 2021, motion hearing, where he appeared, via

 Zoom, because this Honorable Court ordered the appearance of “each attorney
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 whose name appears on any of Plaintiffs’ pleadings or briefs….” (ECF No. 123,

 PageID 5134). Mr. Wood’s name “appears” on the complaint (ECF 1, PageID 75),

 and the amended complaint (ECF No. 6, PageID 957). On July 12, 2021, Mr. Wood

 repeatedly informed the Court that the only reason he was appearing before the Court

 is because the Court ordered him to do so. A copy of the transcript of the hearing is

 attached hereto as Exhibit A. He did not sign the complaint or amended complaint,

 he did not work on either document, he did not discuss the complaint or amended

 complaint with any of the lawyers who did, nor did he authorize anyone to sign his

 name in his stead.     He never knowingly appeared as an attorney before this

 Honorable Court. Therefore, Mr. Wood may not be disciplined pursuant to the local

 rules of the Eastern District of Michigan.

       Were the Court to find it has jurisdiction over Mr. Wood, a fact Mr. Wood

 does not concede, the actions alleged by the intervenor-defendant do not arise to a

 violation of Local Rule 83.32(e)(2). The issue is whether Mr. Wood “broadcasted”

 the July 12, 2021, sanctions hearing, using the commonly understood meaning of

 the term “broadcast.” He did not, and the Court should deny the motion.

       On July 12, 2021, this Honorable Court broadcasted the hearing live, via an

 internet connection, through YouTube, a private company that provides an outlet for

 users to view live audio and video feeds of content as well as view video recordings

 that are posted by users. By its own account, YouTube currently boasts over 2 billion



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 users worldwide.1 In regard to the hearing on July 12, one report indicated, “At its

 peak, Monday’s court hearing attracted more than 13,000 people watching the live

 video.”2 According to a YouTube search result conducted by undersigned counsel,

 video of the entire hearing is currently available to all 2 billion users on YouTube’s

 platform.3 The intervenor-defendant has not made any representation that Mr. Wood

 recorded the hearing. Mr. Wood did not broadcast the hearing under the ordinary

 meaning of the word “broadcast.” Taking the movant’s allegations as true, only for

 the sake of argument, Mr. Wood simply told others, that if they wished to learn the

 truth of what was actually said at the hearing, they could go to a particular place,

 and, if they chose to, they could see a snippet of the hearing. He did not create nor

 assist in the creation of the snippet, nor does he have any ownership in the website

 where the snippet was located. He simply told others where to go to view it if they

 chose to do so. His actions did not amount to “broadcasting” the proceeding on

 social media as that term is commonly understood. This Honorable Court should

 dismiss the show cause.


 1
   See https://www.youtube.com/intl/en-GB/about/press/. (Last accessed July 22, 2021).
 2 Ed White, Trump lawyers might be penalized over Michigan election case, AP NEWS, available
 at              https://apnews.com/article/joe-biden-government-and-politics-elections-michigan-
 e45f806062edd8a7ba81cefd8f3f2638 (Last accessed July 22, 2021).
 3 See https://www.youtube.com/results?search_query=sanctions+hearing. (Last accessed July 22,

 2021). The above link only takes the user to the search results. A user would need to open the
 link entitled “Sanctions Hearing, King et al., v. Whitmer et al., 2:20-cv-13134-LVP-RSW” in order
 to view the video. Undersigned counsel has not played or watched the video, or verified the
 authenticity of the link posted by YouTube user “OrangeInnards.” However, this particular video,
 according to YouTube, has been viewed 16,000 times.


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                            STATEMENT OF FACTS

       On June 17, 2021, this Honorable Court ordered the appearance at oral

 argument on the Defendants’ motion for sanctions of “each attorney whose name

 appears on any of Plaintiffs’ pleadings or briefs….” (ECF No. 123, PageID 5134).

 The hearing was first scheduled for July 6, 2021, and then reset for July 12, 2021.

 On that date, Mr. Wood appeared via the Zoom videoconferencing platform. During

 the hearing, Mr. Wood stated to the Court, “I’m just – I’m here because your Honor

 warned me to be here, but I’m here subject to my defense that I just don’t think

 there’s any personal jurisdiction over me because I didn’t do anything in Michigan.

 I didn’t do anything with respect to this lawsuit.” Exhibit A, p. 59. Further, Mr.

 Wood specifically stated that he was appearing that day, but that his appearance

 should be construed as submitting to the Court’s jurisdiction. He stated, “What I

 wanted to make it clear is, as I said at the beginning, that I’m appearing subject to

 my Defense that I’m not subject to the jurisdiction of the Court personally or by

 having appeared in the case.” Exhibit A, p. 119. Additionally, Mr. Wood’s position

 was supported by the statement of the attorney who did represent the Plaintiffs,

 Sidney Powell. She stated in closing, “I take full responsibility myself for the

 pleadings in this case. Ms. Newman, Mr. Wood, Mr. Johnson, and local counsel had

 no role whatsoever in the drafting and content of these complaints. It was my



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 responsibility and Mr. Kleinhendler's, not theirs.” Exhibit A, p. 231. Therefore, Mr.

 Wood did not appear or practice in this court and has specifically reserved his right

 to argue the Court’s lack of jurisdiction.

       Mr. Wood’s name appears on the initial complaint and the amended

 complaint. (ECF 1, PageID 75 and ECF No. 6, PageID 957, respectively). However,

 he did not place his name there, nor did he authorize any of the other attorneys to

 use his name. The signature pages of the complaint and amended complaint are

 electronically signed by Sidney Powell, Scott Hagerstrom and Gregory Rohl. An

 electronic signature is designated by the notation, prior to the attorney’s name and

 above the signature line, of “/s/.” Mr. Wood’s is not. It is not, because Mr. Wood

 did not sign the pleadings. His name and address are listed, but the documents do

 not even carry the customary signature line above Mr. Wood’s name.

       The docket entries indicate that the complaint and amended complaint were

 filed using the Pacer account of Gregory Rohl, one of the signatories. (ECF No. 1

 and ECF No. 6, respectively). Following the filing of the amended complaint, Mr.

 Wood’s name does not even appear on any of the numerous, subsequent motions,

 responses and replies the parties filed during the pendency of the litigation. Mr.

 Wood has not appeared before this Court, nor has he practiced before this court.

 Consequently, this Court, with all due respect, lacks the authority to impose




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 sanctions upon an attorney that does not practice before the court. The intervenor-

 defendant’s motion should be denied on that basis.

        The day following the hearing, intervenor-defendant, Robert Davis, filed his

 motion for an order to show cause why Mr. Wood “should not be held in criminal

 contempt for violating Local Rule 83.32(d)(3), (e)(2).” (ECF No. 151, PageID

 5273). Intervenor-defendant’s allegation apparently stems from one news report, as

 he directs the Court to view an article from a website entitled “Law and Crime.” The

 byline indicates the article was posted by a person named Adam Klasfeld on July

 12. The motion cites no other source for the claim. The motion alleges Mr. Wood

 “posted a video snippet…featuring Sidney Powell’s closing monologue” on his

 Telegram account.4 (ECF No. 151, PageID 5271). Mr. Wood did not post a video

 snippet.

        The facts cited above bear repeating here. On July 12, 2021, this Honorable

 Court broadcasted the hearing live, via an internet connection, through YouTube, a

 private company that provides an outlet for users to view live audio and video feeds

 of content as well as view video recordings that are posted by users. By its own

 account, YouTube currently boasts over 2 billion users worldwide. The Court’s

 broadcast was viewed live by 13,000 viewers according to the Associated Press. See



 4On information and belief, Telegram is a message board application that allows users to write
 posts that may then be viewed by other Telegram users who “subscribe” to or follow that user.


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  fn. 2, above. The intervenor-defendant makes no allegation, and neither does the

  website “Law and Crime,” that Mr. Wood recorded any portion of what occurred in

  court, because he did not. Therefore, the motion’s reference to a violation of L.R.

  83.32(d)(3) is misplaced.

           In reality, another website that has a Telegram account or channel, Red Voice

  Media,5 posted a link to a video of Sidney Powell’s closing remarks. Mr. Wood is

  a follower of Red Voice Media on Telegram and will frequently re-post those

  statements made by, or posts put up by, Red Voice Media. On July 12, 2021, Mr.

  Wood saw a post from Red Voice Media that had a link to a video snippet of Sidney

  Powell’s closing remarks at the hearing earlier that day. Mr. Wood had no hand in

  creating or publishing the video snippet. That snippet, which is two minutes and 24

  seconds in length, is still available by searching the Red Voice Media website. Mr.

  Wood’s post on July 12, 2021, contained only a link to the page where Red Voice

  Media had stored the video snippet. A screenshot photograph of Mr. Wood’s

  Telegram post is attached hereto as Exhibit B. As the exhibit demonstrates, Mr.

  Wood did not post the video, Red Voice Media posted the video. Mr. Wood merely

  provided the address where, if someone wanted to view the video snippet, the video

  could be found. He did not create the video, he did not host a website where the

  video could be found, and he does not possess a copy of the video. The issue is


  5   Found at https://www.redvoicemedia.com.


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  whether Mr. Wood “broadcast” the video in violation of L.R. 83.32(e)(2). As will

  be shown below, he did not. This Honorable court should dismiss the show cause

  order.

                                      ARGUMENT

           I.    Mr. Wood has never practiced in this court

           Local Rule 83.20 governs the admission of attorneys in the United States

  District Court for the Eastern District of Michigan. In order to practice in the court,

  an attorney must first apply for admission by paying the fee and completing the

  application provided by the court clerk. L. R. 83.20(d). An applicant must also

  provide the clerk with an original certificate of good standing from the court of

  record where the attorney is currently admitted. L. R. 83.20(d)(2). If the court grants

  the application, the attorney must then personally appear to take the oath, or if they

  have no office in the district, the applicant may take the oath by telephone or video

  conference before a judicial officer. L. R. 83.20(d)(4). The clerk will then issue a

  certificate of admission. Id.

           An attorney who is not a member in good standing of the bar of this court is

  not authorized to practice in this court. L. R. 83.20(i). However, “an actively-

  licensed attorney who is not under suspension or disbarment in this or another

  federal or state court may -- (i) cosign papers or participate in pretrial conferences

  in conjunction with a member of the bar of this court (ii) represent a client in a



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  deposition, provided that an attorney who is not a member of the bar of this court

  who conducts a deposition will be subject to the disciplinary rules of this court (iii)

  counsel a client in an action or proceeding pending in this court..” L. R. 83.20(i)(D).

        Mr. Wood is not a member of the bar of this court. He never sought admission,

  never paid the fee, never completed the application, and never provided the clerk

  with a certificate of good standing from another bar. In addition, Mr. Wood has

  never held himself out as being authorized to practice in this court as allowed under

  the provision of L. R. 83.20(i)(D).

        L. R. 83.22(c) dictates that when a judicial officer may institute disciplinary

  proceedings against an attorney. The rule states:

        When misconduct or allegations of misconduct that, if substantiated,
        would warrant discipline of an attorney who is a member of the bar of
        this court or has practiced in this court as permitted by LR 83.20 come
        to the attention of a judicial officer, including a bankruptcy judge or a
        magistrate judge, whether by complaint or otherwise, the judicial
        officer may refer the matter to: (1) the Michigan Attorney Grievance
        Commission for investigation and prosecution, (2) another disciplinary
        authority that has jurisdiction over the attorney, or (3) the chief district
        judge for institution of disciplinary proceedings by this court under LR
        83.22(e). (Emphasis supplied.)

        Absent referral to the chief judge or the other agencies mentioned above, the

  rules provide for other discipline, except disbarment or suspension, for “conduct

  violating the Rules of Professional Conduct, these rules, the Federal Rules of Civil

  or Bankruptcy Procedure, or orders of the court.” L. R. 83.22(d). The rule also




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  states that an attorney may request a hearing, and, if allowed, it should be conducted

  prior to the imposition of any discipline.

        At the hearing conducted on July 12, 2021, it was clear that Mr. Wood had

  never subjected himself to the jurisdiction of this Court, because he did not

  participate in any fashion with the preparing and filing of the complaint or amended

  complaint as alleged by the Plaintiffs in this matter. During the hearing, Mr. Wood

  stated to the Court, “I’m just – I’m here because your Honor warned me to be here,

  but I’m here subject to my defense that I just don’t think there’s any personal

  jurisdiction over me because I didn’t do anything in Michigan. I didn’t do anything

  with respect to this lawsuit.” Exhibit A, p. 59. Further, Mr. Wood specifically stated

  that he was appearing that day, but that his appearance should be construed as

  submitting to the Court’s jurisdiction. He stated, “What I wanted to make it clear is,

  as I said at the beginning, that I’m appearing subject to my Defense that I’m not

  subject to the jurisdiction of the Court personally or by having appeared in the case.”

  Exhibit A, p. 119.

        Additionally, Mr. Wood’s position was supported by the statement of the

  attorney who did represent the Plaintiffs, Sidney Powell. She stated in closing, “I

  take full responsibility myself for the pleadings in this case. Ms. Newman, Mr.

  Wood, Mr. Johnson, and local counsel had no role whatsoever in the drafting and

  content of these complaints. It was my responsibility and Mr. Kleinhendler's, not



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  theirs.” Exhibit A, p. 231. Therefore, Mr. Wood did not appear or practice in this

  court and has specifically reserved his right to argue the Court’s lack of jurisdiction

  over him.

        Though Mr. Wood’s name “appears” on the initial complaint and the amended

  complaint (ECF 1, PageID 75 and ECF No. 6, PageID 957, respectively), he did not

  place his name there, nor did he authorize any of the other attorneys to use his name.

  The signature pages of the complaint and amended complaint are electronically

  signed by Sidney Powell, Scott Hagerstrom and Gregory Rohl. An electronic

  signature is designated by the notation, prior to the attorney’s name and on the

  signature line, “/s/.” Mr. Wood’s is not. It is not, because Mr. Wood did not sign

  the pleadings. His name and address are listed, but the documents do not even carry

  the customary signature line above Mr. Wood’s name. Finally, the pleadings do not

  even carry Mr. Wood’s email address which is a requirement when filing an

  appearance with the Court. Mr. Wood cannot be held to have practiced in this court

  or to be a member of this bar when he did not sign the pleadings nor authorize anyone

  else to sign for him. Therefore, this Honorable Court does not have the authority to

  impose discipline on an attorney who is not before the court in any capacity.

        The facts on the current record seem clear. No fact has been presented to

  contradict those set forth in this motion. However, should the Court determine that

  material factual questions exist, Mr. Wood requests that the Court set this matter for



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  an evidentiary hearing so that Mr. Wood may present the Court with evidence

  sufficient to establish the factual representations made thus far.

        II.    Mr. Wood did not broadcast a Judicial Proceeding

        This Honorable Court’s order directs Mr. Wood to show cause why he should

  not be disciplined for violating L. R. 83.32(e). That rule identifies the prohibited

  uses of electronic devices in federal court facilities. The rule states:

        (1) Except as allowed by this section, no Electronic Device may be used
        in a Federal Court
        facility to record sounds or images.
        (2) Taking photographs or video recordings in connection with any
        Judicial Proceeding
        (including any participants in a Judicial Proceeding while they are in a
        courtroom or its environs), and the recording or broadcasting of Judicial
        Proceedings by radio or television or other means is prohibited.

        Though L. R. 83.32 defines a number of terms, the rule does not define the

  term “broadcasting.”     Words, whether used in statutory interpretation or the

  interpretation of court rules, should be given their ordinary meaning. Perrin v.

  United States, 444 U.S. 37, 42, 100 S. Ct. 311, 314, 62 L. Ed. 2d 199 (1979) (“A

  fundamental canon of statutory construction is that, unless otherwise defined, words

  will be interpreted as taking their ordinary, contemporary, common meaning.”)

  Further, “As the Supreme Court has made clear, we give the Federal Rules of Civil

  Procedure their plain meaning, and generally with them as with a statute, when we

  find the terms unambiguous, judicial inquiry is complete.” Power Tools & Supply,




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  Inc. v. Cooper Power Tools, Inc., No. 05-CV-73615-DT, 2007 WL 1218701, at *2

  (E.D. Mich. Apr. 20, 2007) (Internal quotations omitted.)

        Such rules of construction are implemented by courts for good reason – so

  that persons are able to read the law and understand what is and what is not

  prohibited. As Professor Eskridge has stated:

        Courts thus presume that language in legal texts should be given its
        ordinary meaning, determined by general principles of language usage
        that apply outside the law. The ordinary meaning standard is justified,
        in part, on the basis that it is consistent with fundamental principles of
        legal interpretation, such as the notions that the public should be able
        to read and understand legal texts and that the law should be predictable
        and objective in its application.
        William N. Eskridge, Jr., The Meaning of Sex: Dynamic Words, Novel
        Applications, and Original Public Meaning, 119 Mich. L. Rev. 14-15
        (2020).

        In order to determine the ordinary meaning of undefined words in court rules,

  courts frequently turn to dictionary definitions. “To determine ordinary meaning,

  we first turn to dictionaries that are ‘roughly contemporaneous’ with the statute’s

  enactment. Freytag v. C.I.R., 501 U.S. 868, 920, 111 S.Ct. 2631, 115 L.Ed.2d 764

  (1991) (Scalia, J., concurring); see also United States v. Zabawa, 719 F.3d 555, 559

  (6th Cir. 2013) (‘In determining [the ordinary meaning], dictionaries are a good

  place to start.’)” United States v. Shepherd, 922 F.3d 753, 758 (6th Cir. 2019). See

  also, Vander Boegh v. EnergySolutions, Inc., 772 F.3d 1056, 1060 (6th Cir. 2014)

  (Where no statutory definition exists, a court may consult a dictionary definition for

  guidance in discerning the plain meaning of a statute’s language.) Therefore, a

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  dictionary definition may assist a court in determining the plain meaning of words

  that are defined by the particular rule.

        L. R. 83.32 does not define the term “broadcasting.” Merriam Webster’s

  current unabridged online dictionary defines “broadcasting” as follows: “Broadcast:

  Verb 3: to send out or transmit (something, such as a program) by means of radio or

  television or by streaming over the Internet.”          https://unabridged.merriam-

  webster.com. Mr. Wood did not “broadcast” any part of the hearing by streaming

  over the internet.

        Furthermore, the Court may not take one portion of the rule out of the context

  in which it was written. As the Sixth Circuit said in In re Application to Obtain

  Discovery for Use in Foreign Proc., 939 F.3d 710, 718 (6th Cir. 2019):

        Words “must be read in their context and with a view to their place in
        the overall statutory scheme.” Davis v. Mich. Dep’t of Treasury, 489
        U.S. 803, 809, 109 S.Ct. 1500, 103 L.Ed.2d 891 (1989) (citation
        omitted); see also Nat’l Air Traffic Controllers Ass’n v. Sec’y of Dep’t
        of Transp., 654 F.3d 654, 657 (6th Cir. 2011) (“Plain meaning is
        examined by looking at the language and design of the statute as a
        whole.” (citation omitted)). But if an examination of the statute's text,
        context, and structure produces an answer to our interpretation
        question, we need inquire no further.

        L. R. 83.32 is entitled, “Possession and Use of Electronic Devices in Federal

  Court Facilities.” The majority of the text dictates where, when and how various

  visitors to the court and its environs may possess and use cellular telephones, smart

  phones, laptops, iPads or similar tablets, and any other device capable of being used



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  for wireless communication, accessing the internet, recording sound or images, or

  transmitting data. See L. R. 83.32(a). L. R. 83.32(d) lists the authorized uses for

  those devices in courtrooms by attorneys and pro se litigants, though they must be

  silenced, internet access is forbidden, and no one may make any audio or video

  recordings. It is clear that the context of the rule dictates the legitimate and

  prohibited possession and uses of electronic devices in and around the courthouse.

  Therefore, the recording or broadcasting of proceedings while in the courthouse or

  using a device within the courthouse is obviously prohibited under the rule. It is not

  alleged that Mr. Wood did anything of that nature.

        The question becomes whether directing others to a website that has retained

  a recording of a previously sanctioned live broadcast falls within the ambit of the

  rule. If the rule is read in its proper context, it does not. Mr. Wood did not broadcast

  the proceeding. He was told, through a post from another entity, that a recording

  existed. He did not make it, he did not authorize its making and he did not acquire

  himself a copy of it. He merely provided an address where, if others wanted to view

  the snippet of Sidney Powell’s statements, they could go to a particular place and

  look for themselves. It is not as if he invited someone into his own home and showed

  what he had to others there. In essence, he was told, “Red Voice Media has a copy

  of what was broadcast earlier today on the internet. Go to that place, if you so

  choose, and they will play it for you.” He relayed the address, but he did not



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  broadcast a judicial proceeding. This Honorable Court should dismiss the show

  cause.

                                RELIEF REQUESTED

           WHEREFORE, Mr. Wood prays this Honorable Court for an order dismissing

  the show cause requested by the intervenor-defendant.


                                               Respectfully submitted,



                                               /s/Paul J. Stablein
                                               Paul Stablein
                                               Attorney for Mr. Wood
  DATED:        July 22, 2021




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                                 PROOF OF SERVICE

        I, Paul Stablein, certify that the foregoing document(s) was filed and served

  via the Court's electronic case filing and noticing system (ECF) this 22nd day of July,

  2021, which will automatically send notification of such filing to all attorneys and

  parties of record registered electronically.

                                          Respectfully submitted,



                                          /s/Paul J. Stablein
                                          Paul Stablein
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